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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS               )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        ) Civil Action 1:17-cv-2187-RJL
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )


             NOTICE OF FILING REDACTED VERSIONS OF DOCUMENTS

       Pursuant to the order of the Court issued on November 15, 2017 that “the parties refile

their pleadings so that they are available on the Court’s public docket,” Fusion GPS hereby files

the following redacted versions of documents that it had previously filed under seal:

       1.      Exhibit A to Memorandum of Points & Authorities in Support of Plaintiff’s
               Renewed Application for Temporary Restraining Order & Motion for Preliminary
               Injunction, originally docketed at ECF No. 24-2 (“Exhibit A”).

       2.      Exhibit B to Memorandum of Points & Authorities in Support of Plaintiff’s
               Renewed Application for Temporary Restraining Order & Motion for Preliminary
               Injunction, originally docketed at ECF No. 24-3 (“Exhibit B”).

       3.      Exhibit C to Memorandum of Points & Authorities in Support of Plaintiff’s
               Renewed Application for Temporary Restraining Order & Motion for Preliminary
               Injunction, originally docketed at ECF No. 24-4 (“Exhibit C”).

       4.      Exhibit D to Memorandum of Points & Authorities in Support of Plaintiff’s
               Renewed Application for Temporary Restraining Order & Motion for Preliminary
               Injunction, originally docketed at ECF No. 24-5 (“Exhibit D”).
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      5.      Reply in Support of Plaintiff’s Renewed Application for a Temporary Restraining
              Order and Preliminary Injunction, originally docketed at ECF No. 26-2.


Dated: November 21, 2017                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of November 2017, I filed the foregoing Notice of

Filing Redacted Versions of Documents using the Court’s CM/ECF system, which served the

following:

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                                                    /s/ Rachel F. Cotton
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